        Case 4:17-cr-00390-RCC-BPV Document 21 Filed 06/16/17 Page 1 of 5




  JEFFREY G. BUCHELLA
  Attorney at Law
  177 North Church Avenue
  Suite 200
  Tucson, Arizona 85701
  (520) 628-7777
   Jeffbuchella@gmail.com
  State Bar No. 010569
  Attorney for Paul Douglas Adams


                   IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF ARIZONA

UNITED STATES OF AMERICA,
                                               NO. CR 17-390-RCC (BPV)
Plaintiff,
                                               MOTION TO CONTINUE TRIAL/
vs.                                            EXTEND DEADLINES

PAUL DOUGLAS ADAMS,                            (Second Request)

Defendant.                                     (objection)




         Excludable delay under 18 U.S.C. section 3161(h) may occur as a result of

  this motion or an order based thereon.

         COMES NOW the Defendant, Paul Douglas Adams, by and through counsel

  undersigned, and moves this court for an order continuing the trial in this matter,

  currently scheduled to begin on July 5, 2017, and extending the plea deadline,




                                           1
      Case 4:17-cr-00390-RCC-BPV Document 21 Filed 06/16/17 Page 2 of 5




currently set on June 16, 2017, for a period of one hundred and twenty (120) days.

This motion is made for the following reasons:

      1. The defendant is charged with multiple counts Production, Distribution,

and Possession of Child Pornography, pursuant to 18 U.S.C. sections 2251 and 2252.

The advisory guideline range is Life.

      2. Counsel is in the process of continuing his review of the initial disclosure,

has not reviewed audio/video recordings of the defendant’s statements. Additional

disclosure requests are necessary and independent investigation will also be needed.

      3. Counsel has not adequately reviewed the disclosure with the defendant.

Conferences with the defendant require approximatley one full day, inclusive of

travel and related delays.

      4. Investigation of the case is ongoing. The government’s case is largely based

on evidence seized from the execution of a search warrant on the defendant’s home

and from his contemporaneous interrogation. Both the warrant and interrogation

were the result of a “lead” provided via numerous entities, including an unidentified

“Chatstep offender” in New Zealand and New Zealand authorities, Interpol, the

International Child Sexual Exploitation (“ICSE”) image database, “CVIP” staff,

Diplomatic Security Criminal Intelligence & Research Branch Visa & Passport

Analysis Unit (“DS/CI) Laison, FBI Violent Crimes Against Children (“VCAC”)

task force, Consolidated Consular Database (“CCD”), National Center for Missing



                                          2
      Case 4:17-cr-00390-RCC-BPV Document 21 Filed 06/16/17 Page 3 of 5




and Exploited Children (“NCMEC”), Office of the Inspector General (“OIG”), and

Customs and Border Protection (“CBP”) Office of Professional Responsibility

(“OPR”). Subsequently, additional information was gleaned from the defendant’s

wife’s Facebook account. Until a complete investigation of the case is completed,

and until adequate legal research is conducted, the defense is not able to assess the

issues which need to be addressed, or whether appropriate suppression motions may

need to be filed. In addition, it is difficult to adequately consult with the defendant,

with these gaps in information.

       5. Consultation with a digital forensic expert will be necessary in order to

evaluate certain legal issues in the case. Currently, no such expert has been

authorized for the defense, and once authorized, there will be a significant period of

time before the expert is familiar with the case, has conducted appropriate analysis,

and consulted with counsel undersigned. The expert will need to review the seized

digital materials and evaluate same.

       6. Counsel undersigned must review the evidence seized in this case and that

will require additional time. Any digital images will have to be reviewed at the U.S.

Attorney’s Office. Physical evidence and the scene itself will have to be examined

on site.




                                           3
       Case 4:17-cr-00390-RCC-BPV Document 21 Filed 06/16/17 Page 4 of 5




       7. The defendant will likely file multiple pretrial motions which will require

time    for   response   and    reply,   evidentiary    hearings,   and    anticipated

objections/motions for rehearing.

       8. Counsel has responsibilities in several other serious cases and cannot

devote exclusive attention to the case at bar.

       9. This is the second requested continuance/extension. Additional

continuances and extensions will be required. At this time, the defense is requesting

120 days, as any briefer continuance is wholly unrealistic. Any trial preparation will

require considerable more work not mentioned herein.

       10. Counsel undersigned has contacted the assigned Assistant United States

Attorney, Erica Seger, who states she objects to the requested relief.

              RESPECTFULLY SUBMITTED this 16th day of June, 2017.

                                                   s/Jeffrey G. Buchella
                                                 JEFFREY G. BUCHELLA
                                                 Attorney for Defendant




                                          4
      Case 4:17-cr-00390-RCC-BPV Document 21 Filed 06/16/17 Page 5 of 5




                           CERTIFICATE OF SERVICE

      I hereby certify that on June 16, 2017, I electronically transmitted the attached
document to the Clerk's Office using the CM/ECF System for filing and transmittal
of a Notice of Electronic Filing to all CM/ECF registrants, including:

Erica L. Segar
Assistant U.S. Attorney
405 West Congress St., Suite 4800
Tucson, AZ 85701-5040




                                          5
